Case 3:13-cv-00477-N-BQ Document 107 Filed 06/02/16                              Page 1 of 5 PageID 1948


                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

RALPH S. JANVEY, IN HIS                                   §
CAPACITY AS COURT-APPOINTED                               §
RECEIVER FOR THE STANFORD                                 §
RECEIVERSHIP ESTATE, AND THE                              §
OFFICIAL STANFORD INVESTORS                               §
COMMITTEE,                                                §
                                                          §            Civil Action No. 3:13-cv-00477-N
                      Plaintiffs,                         §
                                                          §
PROSKAUER ROSE, LLP,                                      §
CHADBOURNE & PARKE, LLP, AND                              §
THOMAS V. SJOBLOM,                                        §
                                                          §
                      Defendants.                         §



PLAINTIFFS’ RESPONSE TO MOTION OF DEFENDANTS PROSKAUER ROSE LLP
AND THOMAS V. SJOBLOM FOR JUDGMENT ON THE PLEADINGS AND BRIEF IN
                            SUPPORT


TO THE HONORABLE JUDGE OF THE UNITED STATES DISTRICT COURT:

        NOW COME PLAINTIFFS, Ralph Janvey, in his capacity as court-appointed Receiver

for the Stanford Receivership Estate (the “Receiver”) and the Official Stanford Investors

Committee (“OSIC”) (collectively hereinafter “Plaintiffs”) and file this Response to Motion of

Defendants Proskauer Rose LLP and Thomas V. Sjoblom (“Defendants”)1 for Judgment on the

Pleadings and Brief In Support (the “Rule 12(c) Motion”) [Docket No. 99], and state as follows:

        1.       Simultaneous with this Response, Plaintiffs have filed a Motion for Leave to

Amend their Complaint, in order to assert all claims asserted in the Complaint on behalf of the

Receiver, which renders moot the issues raised in the Rule 12(c) Motion: namely, whether

1
 Plaintiff have settled with Defendant Chadbourne & Parke, LLP and the case against them is stayed pending the
Court’s ruling on Plaintiffs’ motion for approval of the settlement, which is set for hearing on August 12, 2016.


Plaintiffs’ Response to Rule 12(c) Motion                                                                Page 1
Case 3:13-cv-00477-N-BQ Document 107 Filed 06/02/16                             Page 2 of 5 PageID 1949


attorney immunity applies to the claims if they are asserted by OSIC, and whether claims other

than legal malpractice are assignable under Texas law if they arise out of the attorney-client

relationship. For the reasons set forth in the Motion for Leave to Amend, the Court should grant

Plaintiffs leave to amend their Complaint and enter an order that the Rule 12(c) motion is thereby

rendered moot.

        2.       Because the Receiver and OSIC are both Plaintiffs, it is an utter waste of the

Court’s and the parties’ time to address the issues raised in the Rule 12(c) Motion, when there

can be no argument that all of Plaintiffs’ claims can properly be asserted by the Receiver,

because the Receiver stands in the shoes of the former Stanford clients of Defendants.

        3.       The Rule 12(c) Motion, together with Defendants’ refusal to agree to allow

Plaintiffs to amend to render the issues raised in the Rule 12(c) Motion moot and refusal to agree

to a Scheduling Order allowing discovery to move forward on all Plaintiffs’ claims until the

issues raised in the Rule 12(c) Motion are ruled upon by the Court, appears to be yet another

delay tactic by Defendants, designed to avoid the merits of Plaintiffs’ claims.

        4.       Evidence of Defendants’ delay tactics is found in the fact that the issues raised in

the Rule 12(c) Motion had never been raised before by any of the Defendants in their Rule 12(b)

motions to dismiss. Instead, Defendants chose to wait to file the Rule 12(c) Motion only after

the Court denied their 12(b) motions in virtually all respects, 2 and after Plaintiffs requested that

the parties conduct the Rule 26(f) conference to discuss entry of a Scheduling Order.

        5.       With respect to the merits of the Rule 12(c) Motion, Defendants argue that

attorney immunity, a doctrine protecting lawyers in certain circumstances (e.g. litigation) from

suits by third party non-clients (See, e.g. Cantey Hanger v. Byrd LLP, 467 S.W.3d 477 (Tex.


2
 By Order dated June 23, 2015 [Docket No. 79], the Court denied Defendants’ motions to dismiss in all respects
except for Plaintiffs’ claim for aiding and abetting fraudulent transfers.


Plaintiffs’ Response to Rule 12(c) Motion                                                               Page 2
Case 3:13-cv-00477-N-BQ Document 107 Filed 06/02/16                  Page 3 of 5 PageID 1950


2015)(“This case concerns the scope of attorneys’ immunity from civil liability to non-clients.”),

somehow applies to the claims asserted in this case by the Receiver and OSIC, who are both

asserting claims belonging to Defendants’ former Stanford entity clients, not any third party.

The Receiver is asserting a legal malpractice (negligence) claim on behalf of Defendants’ former

Stanford clients, and OSIC is asserting other claims belonging to Defendants’ former Stanford

clients pursuant to an assignment of certain claims from the Receiver to OSIC, a copy of which

is attached as Exhibit A to Plaintiffs’ Motion for Leave to Amend (the “Assignment”). OSIC’s

claims against Defendants include aiding and abetting breach of fiduciary duty, aiding and

abetting a fraudulent scheme, aiding and abetting conversion, civil conspiracy and negligent

retention/supervision. All claims asserted by the Receiver and OSIC are claims belonging to the

former Stanford entity clients of the Defendants, and not any third party. For this reason,

Defendants’ argument that Plaintiffs’ claims are barred by the doctrine of attorney immunity,

which applies only in certain instances to claims by non-clients, has no merit whatsoever.

Nonetheless, this issue is rendered entirely moot if the Court grants Plaintiffs leave to amend as

requested in their Motion for Leave to Amend.

        6.       In their Rule 12(c) Motion, Defendants also raise a separate issue, which is

whether the claims the Receiver has purported to assign to OSIC are assignable. That is a

separate issue from the issue of the applicability of attorney immunity, yet Defendants’ motion

intermingles and obfuscates these two separate issues. Defendants contend that any claims

arising from the attorney-client relationship, not only legal malpractice claims, are non-

assignable under Texas law. They cite two court of appeals decisions supporting their position,

but the Texas Supreme Court has never held that any claims other than legal malpractice claims

are not assignable.. The Court should also note that the Assignment expressly assigned only “all




Plaintiffs’ Response to Rule 12(c) Motion                                                Page 3
Case 3:13-cv-00477-N-BQ Document 107 Filed 06/02/16                  Page 4 of 5 PageID 1951


assignable claims and causes of action existing under applicable law that the Receiver might own

against [Defendants]” [Assignment, ¶ 1].        Thus, if the claims were not assignable under

applicable law, then they were not assigned and the Receiver still owns them and can assert them

as requested in Plaintiffs’ Motion for Leave to Amend. If they are assignable, then OSIC has

asserted them and they should not be dismissed. Attorney immunity has no application because

OSIC is not asserting the claims of any third party non-client against Defendants, rather OSIC is

asserting claims belonging to the former Stanford clients. In any case, because the Receiver and

OSIC are both Plaintiffs, granting Plaintiffs’ Motion for Leave to Amend avoids the need for the

Court to resolve any of the issues raised by Defendants’ Rule 12(c) Motion.

        7.       Defendants have managed to tie this case up in preliminary motion papers for four

years. The Court should not permit them to continue to do so with yet another preliminary

motion that does nothing to advance the resolution of this case on the merits when both the

Receiver and OSIC are named Plaintiffs. It makes no difference whether the claims are being

asserted by the Receiver or OSIC because both are Plaintiffs in the case. If OSIC cannot assert

the claims, the Receiver can.

                                             PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully request that this

Court grant their Motion for Leave to File Amended Complaint, enter an order that Defendants’

Rule 12(c) Motion is rendered moot, and grant Plaintiffs any other and further relief to which

they may be justly entitled.




Plaintiffs’ Response to Rule 12(c) Motion                                                Page 4
Case 3:13-cv-00477-N-BQ Document 107 Filed 06/02/16               Page 5 of 5 PageID 1952


Respectfully submitted,

NELIGAN FOLEY, LLP                              CASTILLO SNYDER, P.C.
Republic Center                                 300 Convent Street, Suite 1020
325 N. St. Paul, Suite 3600                     San Antonio, Texas 78205
Dallas, Texas 75201                             Telephone: (210) 630-4200
Telephone: (214) 840-5320                       Facsimile: (210) 630-4210
Facsimile: (214) 840-5301
                                                BY:/s/ Edward C. Snyder
By: /s/ Douglas J. Buncher                           EDWARD C. SNYDER
   Douglas J. Buncher                                esnyder@casnlaw.com
   dbuncher@neliganlaw.com                           JESSE R. CASTILLO
                                                jcastillo@casnlaw.com
COUNSEL FOR RECEIVER

                                                STRASBURGER & PRICE, LLP
                                                2301 Broadway
                                                San Antonio, Texas 78215
                                                Telephone: (210) 250-6004
                                                Facsimile: (210) 258-2706

                                                BY:/s/ Judith R. Blakeway
                                                    JUDITH R. BLAKEWAY
                                                    judith.blakeway@strasburger.com

                                                STRASBURGER & PRICE, LLP
                                                901 Main Street, Suite 4400
                                                Dallas, Texas 75202
                                                Telephone:     (214) 651-4300
                                                Facsimile:     (214) 651-4330
                                                DAVID N. KITNER
                                                david.kitner@strasburger.com

                                                COUNSEL FOR OSIC


                                     CERTIFICATE OF SERVICE

        I hereby certify that on this 2nd day of June, 2016, the foregoing Motion was served on
all counsel of record via the Court’s ECF system.


                                                          /s/ Douglas J. Buncher


84638v.1




Plaintiffs’ Response to Rule 12(c) Motion                                             Page 5
